    Case 24-42952                    Doc 6           Filed 12/10/24 Entered 12/10/24 14:14:44   Desc Main
                                                        Document    Page 1 of 5



                                           UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF TEXAS
                                                   SHERMAN DIVISION


   IN RE:                                                                  §
                                                                           §
   VISALUS, INC.,                                                          §   CASE NO. 24-42952
                                                                           §    (Chapter 11, SubV)
                                                                           §
                 DEBTOR.                                                   §

             MOTION TO APPEAR PRO HAC VICE OF CHRISTOPHER E. PRINCE

TO THE HONORABLE BRENDA T. RHOADES, U.S. BANKRUPTCY JUDGE:

            Christopher E. Prince (hereinafter “Prince”), of the firm Lesnick Prince & Pappas, LLP,

315 West Ninth Street, Suite 705, Los Angeles, CA 90015 an attorney licensed in the state of

California respectfully files this Application to Appear Pro Hac Vice on behalf of Debtor and

Debtor in Possession, ViSalus, Inc. (the “Debtor”) in the above entitled and numbered cause, and

would to show the Court as follows:

            1.          On December 5, 2024, the Debtor commenced this case by filing a voluntary

petition under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. § 101 et seq. (the

“Code”).

            2.          The Debtor has elected to proceed under Subchapter V of Chapter 11.

            3.          On December Prince was admitted to practice in California on September 9, 1996,

and Prince’s California state bar number is 183553.

            4.          Prince has been licensed to practice before the following federal courts: the United

States Circuit Courts of Appeal for the Eighth, Ninth and Federal Circuits; the United States

District Courts for the Central, Northern, Southern and Eastern District of California and the

Northern District of Illinois; and the United States Court of Federal Claims.



MOTION TO APPEAR PRO HAC VICE OF CHRISTOPHER E. PRINCE — Page 1
pro hac vice - C Prince 4900-7802-7012 v.3.docx [1] 4900-7802-7012, v. 3
    Case 24-42952                    Doc 6           Filed 12/10/24 Entered 12/10/24 14:14:44   Desc Main
                                                        Document    Page 2 of 5



            5.          Prince is in good standing and is otherwise eligible to practice law before this Court.

            6.          Prince has never previously sought or requested temporary admittance with this

Court and has never previously sought or requested temporary admittance before any Court in the

Eastern District of Texas.

            7.          Prince has never been suspended or disbarred in any court and is not subject to any

suspensions or disbarment proceedings.

            8.          Prince has never had an application for admission to practice before another court

denied, and Prince has never had the privilege to practice before another court suspended.

            9.          Furthermore, Prince has never been disciplined by a court or Bar Association or

committee thereof that would reflect unfavorably upon Prince’s conduct, competency or fitness as

a member of the bar.

            10.         Prince has never been arrested for, charged with, or convicted of any criminal

offenses.

            11.         Prince has read and will comply with the Local Rules of the Eastern District of

Texas, including the “Standards of Practice to be Observed by Attorneys.”

            12.         Prince, by his signature below, attests that the above information is true, that he will

discharge the duties of attorney and counselor of this Court faithfully, that he will demean himself

uprightly under the law and the highest ethics of the profession, and that he will defend the

Constitution of the United States.

            13.         Prince also notes that the Debtor and Debtor in Possession has retained Jeff Carruth

of Weycer, Kaplan, Pulaski & Zuber, P.C. as local counsel.

            14.         Debtor shall file one or motions to employ LPP and WKPZ as counsel for the

Debtor under Code § 327.



MOTION TO APPEAR PRO HAC VICE OF CHRISTOPHER E. PRINCE — Page 2
pro hac vice - C Prince 4900-7802-7012 v.3.docx [1] 4900-7802-7012, v. 3
    Case 24-42952                    Doc 6           Filed 12/10/24 Entered 12/10/24 14:14:44   Desc Main
                                                        Document    Page 3 of 5



            WHEREFORE, Christopher E. Prince of the firm Lesnick Prince & Pappas, LLP

respectfully requests that the Court admit him pro hac vice with respect to above-captioned

bankruptcy case and any matter(s) that come before the Court related to this case. Movant

respectfully requests such other and further relief to which Movant is entitled at law or in equity.




                                                           {continued on next page}




MOTION TO APPEAR PRO HAC VICE OF CHRISTOPHER E. PRINCE — Page 3
pro hac vice - C Prince 4900-7802-7012 v.3.docx [1] 4900-7802-7012, v. 3
    Case 24-42952                    Doc 6           Filed 12/10/24 Entered 12/10/24 14:14:44               Desc Main
                                                        Document    Page 4 of 5




 Dated: December 10, 2024                                           Respectfully submitted:


                                                                    LESNICK PRINCE & PAPPAS LLP

                                                                    By:    /s/ Christopher E. Prince*
                                                                    CHRISTOPHER E. PRINCE (CA SBN 183553)
                                                                    315 W. Ninth St., Suite 705
                                                                    Los Angeles, CA 90015
                                                                    Telephone:     (213) 493-6496
                                                                    Email:         cprince@lesnickprince.com

                                                                    Proposed Counsel for
                                                                    ViSalus, Inc.

                                                                    -and-

                                                                    WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                                                    By:       /s/ Jeff Carruth
                                                                           JEFF CARRUTH (TX SBN:. 24001846)
                                                                           2608 Hibernia, Suite 105
                                                                           Dallas, TX 75204-2514
                                                                           Telephone: (713) 341-1158
                                                                           E-mail: jcarruth@wkpz.com


                                                                    PROPOSED LOCAL COUNSEL FOR
                                                                    ViSALUS, INC.

                                                           * Signature by permission by /s/ Jeff Carruth
                                                     CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing was served on
December 10, 2024 by electronic notice to all ECF users who have appeared in this case to date.

                                                                           _____/s/ Jeff Carruth_________________
                                                                                  Jeff Carruth




MOTION TO APPEAR PRO HAC VICE OF CHRISTOPHER E. PRINCE — Page 4
pro hac vice - C Prince 4900-7802-7012 v.3.docx [1] 4900-7802-7012, v. 3
    Case 24-42952                    Doc 6           Filed 12/10/24 Entered 12/10/24 14:14:44         Desc Main
                                                        Document    Page 5 of 5



                                           UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF TEXAS
                                                   SHERMAN DIVISION


   IN RE:                                                                  §
                                                                           §
   VISALUS, INC.,                                                          §          CASE NO. 24-42952
                                                                           §           (Chapter 11, SubV)
                                                                           §
               DEBTOR.                                                     §


            ORDER GRANTING PERMISSION TO APPEAR PRO HAC VICE OF
            CHRISTOPHER E. PRINCE (RE: DOCKET NO. ___)

            On this day the Court considered the Motion for Admission Pro Hac Vice of Christopher

E. Prince to appear pro hac vice on behalf of ViSalus, Inc., Debtor and Debtor in Possession (the

“Debtor”). After considering the Motion, the Court has decided that the request should be

GRANTED.

            IT IS THEREFORE ORDERED AND DECREED that Christopher E. Prince of the firm

Lesnick Prince & Pappas, LLP is permitted to appear as counsel for the Debtor in the above-

captioned case and any matters that come before the Court related to this case.



            Signed on:



                                                                           ______________________________________
                                                                           THE HONORABLE BRENDA T. RHOADES
                                                                           UNITED STATES BANKRUPTCY JUDGE




ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE OF CHRISTOPHER E. PRINCE — Page 1
pro hac vice - C Prince 4900-7802-7012 v.3.docx [2] 4900-7802-7012, v. 3
